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 8                                   UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                           WESTERN DIVISION
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12     DENNIS ANTHONY CRUMP,                       )   No. CV 21-1431-JFW (PLA)
                                                   )
13                          Petitioner,            )   ORDER ACCEPTING MAGISTRATE
                                                   )   JUDGE’S REPORT AND
14                   v.                            )   RECOMMENDATION AND DENYING
                                                   )   REQUEST TO AMEND PETITION
15     K. CLARK,                                   )
                                                   )
16                          Respondent.            )
                                                   )
17

18            Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other records on file
19     herein, the Magistrate Judge’s Report and Recommendation (“R&R”), and petitioner’s objections
20     to the R&R. The Court accepts the recommendations of the Magistrate Judge.
21            Additionally, the Court denies petitioner’s Request to Amend Petition (“Request”), filed on
22     August 9, 2021. (ECF No. 18). Petitioner in his Request asked for an extension of time “to [add]
23     a new ground” to his Petition, but failed to provide any information regarding the new claim.
24     Petitioner also failed to explain why he waited so long to seek amendment, i.e., until six months
25     after filing his Petition, two months after filing his Reply to respondent’s Answer to the Petition,
26     and after the R&R was issued. Nevertheless, the Magistrate Judge gave petitioner until August
27     26, 2021, to supplement his Request by filing a brief that explained the nature of his new claim
28     and the facts supporting the claim, as well as whether the claim had been exhausted in the
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 1     California Supreme Court. The Magistrate Judge warned petitioner that failing to comply by the
 2     deadline would result in the denial of his Request. (ECF No. 20). Petitioner did not file a
 3     supplemental brief, and the deadline for doing so has now passed. On this record, as petitioner
 4     was given ample opportunity to provide information about his new ground for relief, but failed to
 5     do so, and also failed to explain why he delayed seeking amendment until after the R&R was
 6     issued, the Court finds no basis for granting leave to amend. See Fed. R. Civ. P. 15(a)(2).
 7           ACCORDINGLY, IT IS ORDERED:
 8           1.     Petitioner’s Request to Amend (ECF No. 18) is denied.
 9           2.     The Report and Recommendation is accepted.
10           3.     Judgment shall be entered consistent with this order.
11           4.     The clerk shall serve this order and the judgment on all counsel or parties of record.
12

13     DATED: September 28, 2021
                                                             HONORABLE
                                                             HO
                                                             H  NORABLE JOHN F.
                                                               ONO           F. WALTER
14                                                          UNITED
                                                            UNITED
                                                                E STATES DISTRICT JUDGE
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